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 Attorneys for Defendant
 Live Nation Entertainment, Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                Civil Action No. 11-cv-7318 (CCC)(CLW)
  JUICE ENTERTAINMENT, LLC, THOMAS
  DORFMAN, AND CHRIS BARRETT,
                     Plaintiffs,                 NOTICE OF MOTION TO STRIKE
                                                PLAINTIFFS’ EXPERT REPORT AND
                      vs.                            FOR RELATED RELIEF

  LIVE NATION ENTERTAINMENT, INC.,

                                   Defendant.


 TO: Andrew Smith
     Smith & Schwartzstein LLC
     71 Maple Ave, Suite 3
     Morristown, NJ 07960
     Attorney for Plaintiffs Juice
     Entertainment LLC, Thomas Dorfman,
     and Chris Barrett

         PLEASE TAKE NOTICE that, on September 16, 2019, at 9:00 AM, or as

 soon as counsel may be heard, Defendant Live Nation Entertainment, Inc. (“Live

 Nation”) shall move before the Honorable Cathy L. Waldor, United States

 Magistrate Judge for the District of New Jersey, located at Martin Luther King

 Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07101, for an Order


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 excluding from this litigation the expert report and expert testimony of Dr. Richard

 D. Barnet, awarding Live Nation the fees and any costs associated with having to

 make this motion; and granting Live Nation such other relief as the Court deems

 appropriate;

         PLEASE TAKE FURTHER NOTICE that in support of its motion, Live

 Nation will rely upon its Memorandum of Law and the Certification of Ian S. Marx,

 with annexed exhibits, filed herewith, and the record of proceedings; and

         PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

 herewith.

                                        Respectfully submitted,


                                        GREENBERG TRAURIG, LLP


                                   By         /s/ Ian S. Marx
                                              Ian S. Marx

 Dated: August 23, 2019




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